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 1    HEATHER E. WILLIAMS, Bar #122664
      Federal Defender
 2    VICTOR M. CHAVEZ, Bar #113752
      Assistant Federal Defender
 3    Designated Counsel for Service
      2300 Tulare Street, Suite 330
 4    Fresno, CA 93721-2226
      Telephone: (559) 487-5561
 5
      Counsel for Defendant
 6    JESUS SEBASTIAN MATA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   )       No. 1:15-cr-00207 DAD-BAM
                                                  )
12                   Plaintiff,                   )       STIPULATION TO CONTINUE
                                                  )       SENTENCING HEARING;
13    v.                                          )       ORDER
                                                  )
14                                                )
      JESUS SEBASTIAN MATA,                       )       DATE: November 19, 2018
15                                                )       TIME: 10:00 a.m.
                     Defendant.                   )       JUDGE: Hon. Dale A. Drozd
16                                                )
                                                  )
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18
19           IT IS HEREBY STIPULATED by and between the parties, through their respective
20    counsel, that the sentencing hearing now set for August 27, 2018, may be continued to
21    November 19, 2018, at 10:00 a.m. The reason for this request is for additional time for defense
22    preparation.
23                                                               Respectfully submitted,
24                                                               MCGREGOR W. SCOTT
                                                                 United States Attorney
25
26    DATED: August 23, 2018                              By     /s/ Kimberly Sanchez
                                                                 KIMBERLY SANCHEZ
27                                                               Assistant United States Attorney
                                                                 Attorney for Plaintiff
28
     Case 1:15-cr-00207-DAD-BAM Document 111 Filed 08/23/18 Page 2 of 2


 1
 2                                                                 HEATHER E. WILLIAMS
                                                                   Federal Defender
 3
 4    DATED: August 23, 2018                                By     /s/ Victor M. Chavez
                                                                   VICTOR M. CHAVEZ
 5                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
 6                                                                 JESUS SEBASTIAN MATA
 7
 8
                                                   ORDER
 9
10            The court has reviewed and considered the stipulation of the parties to continue the

11    sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named

12    defendant currently scheduled for August 27, 2017, is continued until November 19, 2018, at

13    10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.

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      IT IS SO ORDERED.
15
16       Dated:       August 23, 2018
                                                        UNITED STATES DISTRICT JUDGE
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       MATA: Stipulation to Continue                  -2-
       Sentencing Hearing
